       Case 1:14-cr-00068-LGS               Document 316-1   Filed 02/20/18      Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                    14 Cr. 68 (KBF)

                                   Plaintiff,                DECLARATION OF PAUL
                                                             GRANT IN SUPPORT OF
                                                             PETITION FOR REHEARING RE
                                                             REQUEST FOR EXTENSION OF
                                                             TIME TO SUBMIT RULE 33
                                                             MOTION FOR NEW TRIAL
                            -v-

ROSS WILLIAM ULBRICHT,

                                    Defendant.
----------------------------------------------------X

        I, Paul Grant, pursuant to 28 U.S.C. § 1746, hereby affirm under penalty of perjury:

I am an attorney licensed in the State of Colorado and admitted pro hac vice in this case for

purposes of my representation of Ross Ulbricht in this matter. I state the following to be true:

1.      I represent Mr. Ulbricht on post-conviction matters in this case, and on related matters

before the Second Circuit.

2.      I have received some discovery in this case from prior counsel, Joshua L. Dratel, and

some additional discovery from the United States Attorney.

3.      The discovery provided to me by Mr. Dratel amounted to some 6 terabytes of digitally

stored material.

4.      I have spent hundreds of hours reviewing the discovery but have barely scratched the

surface of the material contained therein. I am not an expert in many of the formats in which the

discovery is stored, including .pcap (packet capture files that can be read in Wireshark), ftk

imager, and MySQL. I require expert assistance to review and understand the data.


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      Case 1:14-cr-00068-LGS          Document 316-1        Filed 02/20/18       Page 2 of 3




5.     I found no .pcap - formatted files in any of the discovery provided to me by prior

       counsel.

6.     I have found 4,499 .pcap - formatted files in some discovery inadvertently provided to

me by the United States Attorney. Those files apparently do include PRTT data, but not the FBI-

collected PRTT data described in the laptop and residence search warrant applications. Upon

learning that, on October 10, 2017, I requested the United States Attorney provide me with the

missing data. On February 2, 2018, the AUSA confirmed to me in writing that they had found

and would be sending me some recently located PRTT data files.

7.     I have reviewed all of the client file materials provided to me by prior counsel to the best

of my ability, and have seen no evidence that prior counsel ever looked at or even retained any of

the .pcap data files provided in discovery.

8.     Mr. Dratel sent Mr. Ulbricht’s parents an email dated May 31, 2017, advising them that

the Second Circuit had on that day denied Mr. Ulbricht’s appeal, affirming his conviction and

sentence. Mr. Dratel informed the parents that he would not be preparing Mr. Ulbricht’s petition

for rehearing, which was due in 14 days. Mr. Dratel stated as his reason the fact that the parents

had stopped paying his bills and he reminded them that he had previously warned them that he

would not represent Mr. Ulbricht after the Second Circuit ruled on the appeal.

9.     As of May 31, 2017, Mr. Dratel was still counsel of record for Mr. Ulbricht in the

Second Circuit and he had not filed a motion to withdraw in either the Second Circuit or in the

Southern District of New York.

10.    On June 6, 2017, Mr. Dratel sent an email to Mr. Ulbricht’s parents, advising them that

he had received my request for the client file. Mr. Dratel said his firm “cannot” undertake the

task of locating and assembling and preparing and sending the file materials to me, without being


                                                 2
      Case 1:14-cr-00068-LGS          Document 316-1        Filed 02/20/18      Page 3 of 3




paid up front for their time. Mr. Dratel required a “suitable retainer” from Mr. Ulbricht’s parents

before he would undertake this task. Mr. Dratel has provided some file materials to undersigned

counsel since that date.

11.    As of today’s date, February 19, 2018, Mr. Dratel continues to refuse to provide

additional file materials to undersigned counsel, or even to search for relevant email messages,

without some payment.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this 19th day of February, 2018.

                                                             /s/ Paul Grant
                                                             Paul Grant




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